                 Case 4:17-cr-00431 Document 39 Filed in TXSD on 06/06/18 Page 1 of 1
JUDGE                   NANCY F. ATLAS
CASE MANAGER         SHELIA ASHABRANNER                 ERO YES
                                                        INTERPRETER NO

TIME 11:13 A.M.     | 11:58        A.M.               P.M. |               P.M.                  DATE June 6, 2018
        begin                 end                       begin               end


                                              CR. NO. 17-431 DEFT. NO. 01


UNITED STATES OF AMERICA                                            Kimberly Leo                                 AUSA
vs.
                                                                    Charles Flood                            RETAINED
STEPHEN P. LYNCH
                                                        REARRAIGNMENT
Rearraignment      held on Cts 1 and 2

Deft enters a plea of          X      gpl. (guilty)          ngpl. (not guilty)     nolopl. (nolo).

PLEA AGREEMENT: As outlined in the plea agreement and on the record in open Court.

Order for PSI setting Disclosure and Sentencing dates signed.

Sentencing set August 23, 2018 at 1:30 p.m.

Deft remanded to custody.

Terminate other settings for this deft.               Terminate motions for this deft.

OTHER PROCEEDINGS:

Copy to:       USPO
